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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,                             CASE NO. 2:23-cv-00811-TL
 9
                                Plaintiff,                 STIPULATED ORDER FOR
10           v.                                            PERMANENT INJUNCTION, CIVIL
                                                           PENALTY JUDGMENT, AND
11   AMAZON.COM, INC., a corporation, and                  OTHER RELIEF

12   AMAZON.COM SERVICES LLC, a
     limited liability company,
13
                                Defendants.
14

15           Plaintiff, the United States of America, acting upon notification and authorization to the

16   Attorney General by the Federal Trade Commission (“Commission”), filed its Complaint for

17   Civil Penalties, Permanent Injunction, and Other Relief (“Complaint”) in this matter, pursuant to

18   Sections 13(b), 16(a)(1), and 19 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C.

19   §§ 53(b), 56(a)(1), and 57b, the Children’s Online Privacy Protection Act, 15 U.S.C. §§ 6502(c)

20   and 6505(d), and the Commission’s Children’s Online Privacy Protection Rule (“COPPA Rule”),

21   16 C.F.R. Part 312. Defendants have waived service of the summons and the Complaint.

22   Plaintiff and Defendants stipulate to the entry of this Stipulated Order for Permanent Injunction

23   and Civil Penalty Judgment (“Order”) to resolve all matters in dispute in this action between

24   them.


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 1         THEREFORE, IT IS ORDERED as follows:

 2                                              FINDINGS

 3      1. This Court has jurisdiction over this matter.

 4      2. The Complaint charges that Defendants violated the COPPA Rule and the FTC Act with

 5         respect to Alexa by misrepresenting that they would delete voice transcripts and

 6         geolocation information of users of their Alexa voice assistant service upon request and

 7         limit employees’ access to Alexa users’ voice information; by failing to delete children’s

 8         personal information at the request of parents; and by retaining children’s personal

 9         information longer than reasonably necessary to fulfill the purpose for which the

10         information was collected.

11      3. Defendants neither admit nor deny any of the allegations in the Complaint, except as

12         specifically stated in this Order. Only for purposes of this action, Defendants admit the

13         facts necessary to establish jurisdiction.

14      4. Defendants waive any claim that they may have under the Equal Access to Justice Act,

15         28 U.S.C. § 2412, concerning the prosecution of this action through the date of this

16         Order, and agree to bear their own costs and attorney fees.

17      5. Defendants and Plaintiff waive all rights to appeal or otherwise challenge or contest the

18         validity of this Order. Notwithstanding this waiver, such waiver shall not extend to any

19         right to appeal or otherwise challenge or contest the validity of any court or

20         administrative action arising out of this Order.

21                                           DEFINITIONS

22         For the purpose of this Order, the following definitions apply:

23      A. “Alexa” means the Alexa voice assistant service or any comparable successor or

24         replacement service Amazon may offer by another name.


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 1      B. “Alexa App” means the Amazon Alexa mobile application available to consumers

 2         through which any Defendant collects any Voice Information or Geolocation Information

 3         from Alexa users.

 4      C. “Alexa App Geolocation Information” means Geolocation Information collected via

 5         the Alexa App for the provision of Alexa services; provided, however, that any such

 6         record shall not be considered Alexa App Geolocation Information if such record

 7         (1) does not contain, is not stored with, and is not otherwise reasonably linkable to any

 8         other element of Personal Information and (2) has less than three decimal places of

 9         precision.

10      D. “Child” or “Children” means an individual or individuals under the age of 13.

11      E. “Child Profile” means any user profile created for use by a Child and for which Amazon

12         has actual knowledge that the user is a Child.

13      F. “Clear(ly) and Conspicuous(ly)” means that a required disclosure is difficult to miss

14         (i.e., easily noticeable) and easily understandable by ordinary consumers, including in all

15         of the following ways:

16         1. In any communication that is solely visual or solely audible, the disclosure must be

17             made through the same means through which the communication is presented.

18         2. A visual disclosure, by its size, contrast, location, the length of time it appears, and

19             other characteristics, must stand out from any accompanying text or other visual

20             elements so that it is easily noticed, read, and understood.

21         3. An audible disclosure, including by streaming video must be delivered in a volume,

22             speed, and cadence sufficient for ordinary consumers to easily hear and understand it.

23         4. In any communication using an interactive electronic medium, such as the Internet or

24             software, the disclosure must be designed to be prominent and easily noticeable.


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 1         5. The disclosure must use diction and syntax understandable to ordinary consumers and

 2            must appear in each language in which the representation that requires the disclosure

 3            appears.

 4         6. The disclosure must comply with these requirements in each medium through which

 5            it is received, including all electronic devices and face-to-face communications.

 6         7. The disclosure must not be contradicted or mitigated by, or inconsistent with,

 7            anything else in the communication in which the disclosure is made.

 8         8. When the representation or sales practice targets a specific audience, such as children,

 9            the elderly, or the terminally ill, “ordinary consumers” includes ordinary members of

10            that group.

11         9. “Data Product” means any model, derived data, or other tool developed using Alexa

12            App Geolocation Information, Voice Information, or a Child’s Personal Information.

13            Data Product includes but is not limited to any data produced via inference (manual

14            or automated) or predictions from such Alexa App Geolocation Information, Voice

15            Information, or Children’s Personal Information, application programming interfaces

16            that incorporate, or are improved or enhanced by, such data, or services or other

17            products that incorporate, or are improved or enhanced by, such data.

18      G. “Defendants” means Defendant Amazon, Defendant Amazon Digital Services; and

19         Defendant A2Z individually, collectively, or in any combination.

20         1. Defendant Amazon means Amazon.com, Inc. and its successors and assigns.

21         2. Defendant Amazon Digital Services means Amazon Digital Services LLC and its

22            successors and assigns.

23         3. Defendant A2Z means A2Z Development Center, Inc. and its successors and assigns.

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 1      H. “Internet” means collectively the myriad of computer and telecommunication facilities,

 2         including equipment and operating software, which comprises the interconnected world-

 3         wide network of networks that employ the Transmission Control Protocol/Internet

 4         Protocol, or any predecessor or successor protocols to such protocol, to communicate

 5         information of all kinds by wire, radio, or other methods of transmission.

 6      I. “Geolocation Information” means the location of a mobile device sourced from a GPS

 7         chip, in latitude-longitude format.

 8      J. “Inactive Alexa Child Profile” means a Child Profile that has interacted with Alexa but

 9         that has not been used for 18 months or more. Inactive Alexa Child Profiles include

10         profiles of individuals who are under the age of 13 when the 18 month period starts and

11         who turn 13 before the 18 months has elapsed.

12      K. “Online Contact Information” means an email address or any other substantially

13         similar identifier that permits direct contact with a person online, including but not

14         limited to, an instant messaging user identifier, a voice over Internet protocol (VOIP)

15         identifier, or a video chat identifier.

16      L. “Operator” means any Person who operates a Web site located on the Internet or an

17         online service and who collects or maintains Personal Information from or about the

18         users of or visitors to such Web site or online service, or on whose behalf such

19         information is collected or maintained, or offers products or services for sale through the

20         Web site or online service, where such Web site or online service is operated for

21         commercial purposes involving commerce among the several States, or with one or more

22         foreign nations; in any territory of the United States or in the District of Columbia, or

23         between any such territory and another such territory or any State or foreign nation; or

24         between the District of Columbia and any State, territory, or foreign nation.


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 1      M. “Parent” includes a legal guardian.

 2      N. “Persistent Identifier” means an identifier that can be used to recognize a user over time

 3         and across different Web sites or online services. Such persistent identifier includes, but

 4         is not limited to, a customer number held in a cookie, an Internet Protocol (IP) address, a

 5         processor or device serial number, or unique device identifier.

 6      O. “Person” means any individual, partnership, corporation, trust, estate, cooperative,

 7         association, or other entity.

 8      P. “Personal Information” means individually identifiable information about an individual

 9         collected online, including: (1) a first and last name; (2) a home or other physical address

10         including street name and name of a city or town; (3) Online Contact Information; (4) a

11         screen or user name where it functions in the same manner as Online Contact

12         Information; (5) a telephone number; (6) a Social Security number; (7) a Persistent

13         Identifier that can be used to recognize a user over time and across different Web sites or

14         online services. Such persistent identifier includes, but is not limited to, a customer

15         number held in a cookie, an Internet Protocol (IP) address, a processor or device serial

16         number, or unique device identifier; (8) a photograph, video, or audio file where such file

17         contains a Child’s image or voice; (9) Geolocation Information; or (10) information

18         concerning the Child or the Parents of that Child that the Operator collects online from

19         the Child and combines with an identifier described in this definition.

20      Q. “Voice Information” means any audio file of an individual’s voice communications or

21         audio communications collected by or through Alexa, as well as any related full-text

22         transcripts of such audio file, provided, however, that any such record shall not be

23         considered Voice Information if: (1) such record does not contain, is not stored with, and

24         is not otherwise reasonably linkable to any other element of Personal Information; or


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 1          (2) such record was sent to or otherwise shared with another Person by the applicable

 2          individual (e.g., a voice message sent by one user to another via Alexa).

 3                                                 ORDER

 4                I.     DELETION OF CHILDREN’S PERSONAL INFORMATION
                         ASSOCIATED WITH INACTIVE ALEXA CHILD PROFILES
 5

 6          IT IS ORDERED that, in compliance with COPPA’s requirements concerning the

 7   retention and deletion of Children’s Personal Information, see 16 C.F.R. § 312.10, for as long as

 8   that provision is in effect and is therefore applicable to Defendants,

 9      A. Defendants and Defendants’ officers, agents, employees, and attorneys, and all other

10          persons in active concert or participation with any of them, who receive actual notice of

11          this Order shall, within six (6) months of entry of this Order, implement a process to

12          identify Inactive Alexa Child Profiles; and

13      B. Following identification of any Inactive Alexa Child Profile, Defendants shall delete any

14          Personal Information collected from a Child associated with that Inactive Alexa Child

15          Profile within 90 days, unless the Parent of the applicable Child requests that such

16          information be retained or the applicable Child Profile becomes active again prior to such

17          deletion.

18                   II.  PROHIBITION AGAINST MISREPRESENTATIONS
                    ABOUT PRIVACY OF GEOLOCATION INFORMATION AND VOICE
19                                     INFORMATION
20          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

21   and attorneys, and all other persons in active concert or participation with any of them, who

22   receive actual notice of this Order, whether acting directly or indirectly, are permanently

23   restrained and enjoined from misrepresenting, expressly or by implication:

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 1      A. The extent to which any Defendant retains, limits or permits access to, or deletes any

 2           Alexa App Geolocation Information or Voice Information;

 3      B. The extent to which a consumer may exercise control over any Defendant’s retention,

 4          deletion, or access to Alexa App Geolocation Information or Voice Information, and the

 5          steps a consumer must take to implement such controls; or

 6      C. The extent to which a Parent may exercise control over any Defendant’s retention or

 7          deletion of a Child’s Voice Information, and the steps a Parent must take to implement

 8          such controls.

 9                        III.    MANDATED DELETION OF INFORMATION

10          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

11   and attorneys, and all other persons in active concert or participation with any of them, who

12   receive actual notice of this Order, must:

13      A. Delete all Alexa App Geolocation Information and Voice Information collected from a

14          consumer where the consumer has requested that any Defendant delete such information

15          via a mechanism any Defendant has made available for that purpose;

16      B. Delete all Personal Information collected by Alexa from a Child where the Child’s Parent

17          has requested that any Defendant delete such information via a mechanism any

18          Defendant has made available for that purpose;

19      C. After processing the deletion of Alexa App Geolocation Information, Voice Information,

20          or Children’s Personal Information as provided for in Sections I, IV(A) and IV(B),

21          Defendant shall not subsequently use such information for the creation or improvement

22          of any Data Product. For the avoidance of doubt, the foregoing provision does not limit

23          Defendant’s use of any Data Product created prior to the processing of the deletion of

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 1          Alexa App Geolocation Information, Voice Information, or Children’s Personal

 2          Information as provided for in Section I, IV(A) and IV(B).

 3                  IV.    MANDATED NOTICE OF RETENTION AND DELETION

 4          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, employees,

 5   and attorneys, and all other persons in active concert or participation with any of them, who

 6   receive actual notice of this Order, must, within ninety (90) days of entry of this order,

 7   document, adhere to, and make publicly available:

 8      A. Clearly and Conspicuously, when a consumer is prompted to grant Defendant permission

 9          to access Alexa App Geolocation Information, a link to a retention and deletion

10          disclosure for Alexa App Geolocation Information (“Geolocation Information

11          Disclosure”), setting forth: (1) the purpose for which such information is collected, used,

12          or maintained; and (2) the mechanisms, if any, by which consumers may request deletion

13          of such information;

14      B. In the Alexa and Alexa Devices FAQs (or a similarly prominent location) a retention and

15          deletion disclosure for Voice Information (“Voice Information Disclosure”), that includes

16          an explanation of: (1) the purposes for which such information is collected, used, or

17          maintained; (2) the mechanisms, if any, by which consumers may request deletion of

18          such information; and (3) the mechanisms by which Parents of Children may request

19          deletion of Personal Information that Alexa collects from children.

20                                       V.      NOTICE TO USERS

21          IT IS FURTHER ORDERED that, on or before thirty (30) days after the date of the entry

22   of this Order, Defendant Amazon must:

23      A. Post in the Alexa and Alexa Devices FAQs (or a similarly prominent location), which can

24          be accessed on the Web and in the Alexa App, for a period of six (6) months after the


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 1          effective date of this Order, a link to an exact copy of the notice attached hereto as

 2          Exhibit A (“Exhibit A Notice”); and

 3      B. Post Clearly and Conspicuously on the home page of the Amazon Parent Dashboard for a

 4          period of six (6) months after the effective date of this Order, a link to an exact copy of

 5          the Exhibit A Notice.

 6                              VI.     MANDATED PRIVACY PROGRAM

 7          IT IS FURTHER ORDERED that Defendants, and any business that any Defendant

 8   controls directly, or indirectly, in connection with the collection, maintenance, use, or disclosure

 9   of, or provision of access to, Alexa App Geolocation Information, must, within ninety (90) days

10   of entry of this order and for a period of twenty (20) years thereafter, establish, implement, and

11   thereafter maintain or, if such a program already exists, maintain a comprehensive privacy

12   program to protect the privacy of Alexa App Geolocation Information (the “Program”). To

13   satisfy this requirement, Defendants must:

14          A.      Document in writing the content, implementation, and maintenance of the

15                  Program;

16          B.      Provide the written program and any evaluations thereof or updates thereto to a

17                  senior officer of Defendants responsible for the Program at least once every

18                  twelve (12) months;

19          C.      Designate a qualified employee or employees to coordinate and be responsible for

20                  the Program;

21          D.      Assess and document, at least once every twelve (12) months, internal and

22                  external risks to the privacy of Alexa App Geolocation Information that could

23                  result in the (1) unauthorized collection, maintenance, alteration, use, or

24                  disclosure of, or provision of access to, Alexa App Geolocation Information; or


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 1                the (2) misuse, loss, theft, alteration, destruction, or other compromise of such

 2                information;

 3         E.     Design, implement, maintain, and document safeguards that control for the

 4                internal and external risks Defendants identify to the privacy of Alexa App

 5                Geolocation Information identified in response to Provision VII.D. Each

 6                safeguard must be based on the volume and sensitivity of Alexa App Geolocation

 7                Information that is at risk, and the likelihood that the risk could be realized and

 8                result in the (1) unauthorized collection, maintenance, use, or disclosure of, or

 9                provision of access to, Alexa App Geolocation Information; or the (2) misuse,

10                loss, theft, alteration, destruction, or other compromise of such information. Such

11                safeguards must also include:

12                1.     Conducting a privacy review and producing a written report (“Privacy

13                       Review Statement”) for Alexa’s collection, maintenance, use, or

14                       disclosure of Alexa App Geolocation Information. The Privacy Review

15                       Statement must describe:

16                       a)      How Alexa collects, maintains, uses, or discloses Alexa App

17                               Geolocation Information;

18                       b)      For how long Alexa App Geolocation Information is retained;

19                       c)      The risks of the (1) collection, maintenance, alteration, use, or

20                               disclosure of, or provision of access to; or the (2) misuse, loss,

21                               theft, alteration, destruction, or other compromise of Alexa App

22                               Geolocation Information, and the safeguards in place or to be

23                               implemented that are intended to control identified risks;

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 1                      d)     Any other known, reasonable safeguards or other procedures that

 2                             would mitigate the identified risks of the (1) collection,

 3                             maintenance, alteration, use, or disclosure of, or provision of

 4                             access to; or the (2) misuse, loss, theft, alteration, destruction, or

 5                             other compromise of Alexa App Geolocation Information that

 6                             were not implemented, and each reason that such alternatives were

 7                             not implemented; and

 8                      e)     Any decision made as a result of the review (e.g., whether a

 9                             practice was approved, approved contingent upon safeguards or

10                             other recommendations being implemented, or rejected).

11                2.    Implementing controls to limit access to unencrypted Alexa App

12                      Geolocation Information only to authorized services;

13                3.    Training of all employees whose responsibilities include access to

14                      unencrypted Alexa App Geolocation Information, at least every twelve

15                      (12) months, on how to safeguard Alexa App Geolocation Information;

16                4.    Training of all employees whose responsibilities include deletion of Alexa

17                      App Geolocation Information, at least every twelve (12) months, on how

18                      to comply with deletion requests;

19                5.    Implementing data access controls for all databases and assets storing

20                      unencrypted Alexa App Geolocation Information; and

21                6.    Reviewing and adjusting as appropriate at least once every twelve (12)

22                      months, employee access to unencrypted Alexa App Geolocation

23                      Information to ensure that the employee needs continued access to the

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 1                         Alexa App Geolocation Information to perform the employee’s specific

 2                         job function;

 3         F.       Assess, at least once every twelve (12) months, the sufficiency of any safeguards

 4                  in place to address the internal and external risks of the (1) collection,

 5                  maintenance, alteration, use, or disclosure of, or provision of access to; or the

 6                  (2) misuse, loss, theft, alteration, destruction, or other compromise of Alexa App

 7                  Geolocation Information, and modify the Program as needed based on the results;

 8         G.       Test and monitor the effectiveness of the safeguards at least once every twelve

 9                  (12) months, and modify the Program as needed based on the results;

10         H.       With respect to service providers who may have access to or receive Alexa App

11                  Geolocation Information through or from Defendants, take reasonable efforts to

12                  select and retain service providers capable of implementing and maintaining

13                  safeguards sufficient to address the internal and external risks of the

14                  (1) collection, maintenance, alteration, use, or disclosure of, or provision of access

15                  to; or the (2) misuse, loss, theft, alteration, destruction, or other compromise of

16                  Alexa App Geolocation Information; and

17         I.       Evaluate and adjust the Program in light of any changes to Defendants’ operations

18                  or business arrangements, new or more efficient technological or operational

19                  methods that are intended to control for the risks identified in Provision VII.D of

20                  this Order, or any other circumstances that Defendants know or have reason to

21                  know may have an impact on the effectiveness of the Program. At a minimum,

22                  Defendants must evaluate the Program at least once every twelve (12) months and

23                  modify the Program based on the results as needed.

24   //


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 1                                       VII.   CERTIFICATIONS

 2         IT IS FURTHER ORDERED that Defendants must:

 3      A. One year after the entry date of this Order, and each year thereafter for ten (10) years

 4         after the entry date of this Order, provide the Commission with a certification from a

 5         Vice President with oversight responsibilities involving the Alexa service, that:

 6         (1) Defendants have established, implemented, and maintained the requirements of this

 7         Order; and (2) Defendants are not aware of any material noncompliance that has not been

 8         (a) corrected or (b) disclosed to the Commission. The certification must be based on the

 9         personal knowledge of the senior corporate manager, senior officer, or subject matter

10         experts upon whom the signatory reasonably relies in making the certification; and

11      B. Unless otherwise directed by a Commission representative in writing, submit all annual

12         certifications to the Commission pursuant to this Order via email to DEbrief@ftc.gov or

13         by overnight courier (not the U.S. Postal Service) to Associate Director for Enforcement,

14         Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue

15         NW, Washington, DC 20580. The subject line must begin, “United States v.

16         Amazon.com, Inc., FTC File No. 1923128.”

17                     VIII. MONETARY JUDGMENT FOR CIVIL PENALTY

18         IT IS FURTHER ORDERED that:

19      A. Judgment in the amount of twenty-five million dollars ($25,000,000) is entered in favor

20         of Plaintiff against Defendants as a civil penalty.

21      B. Defendants are ordered to pay to Plaintiff, by making payment to the Treasurer of the

22         United States, twenty-five million dollars ($25,000,000), which as Defendants stipulate,

23         its undersigned counsel holds in escrow for no purpose other than payment to Plaintiff.

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 1            Such payment must be made within seven (7) days of entry of this Order by electronic

 2            fund transfer in accordance with instructions provided by a representative of Plaintiff.

 3      C. Defendants relinquish dominion and all legal and equitable right, title, and interest in all

 4            assets transferred pursuant to this Order and may not seek the return of any assets.

 5      D. The facts alleged in the Complaint will be taken as true, without further proof, in any

 6            subsequent civil litigation by or on behalf of the Commission to enforce its rights to any

 7            payment or monetary judgment pursuant to this Order.

 8      E. Defendants acknowledge that their Taxpayer Identification Numbers (Employer

 9            Identification Numbers), which Defendants previously submitted to the Commission,

10            may be used for collecting and reporting on any delinquent amount arising out of this

11            Order, in accordance with 31 U.S.C. § 7701.

12                                 IX.    ORDER ACKNOWLEDGMENTS

13            IT IS FURTHER ORDERED that Defendants obtain acknowledgments of receipt of this

14   Order:

15      A. Defendants, within ten (10) days after the effective date of this Order, must submit to the

16            Commission an acknowledgment of receipt of this Order sworn under penalty of perjury.

17      B. For ten (10) years after entry of this Order, Defendants must deliver a copy of this Order

18            to: (1) all principals, officers, directors, and LLC managers and members of the Alexa

19            business within the Defendant entities; (2) all employees and agents having managerial

20            responsibilities for the deletion of Alexa App Geolocation Information or Voice

21            Information; and (3) any business entity resulting from any change in structure as set

22            forth in the Section titled Compliance Reporting. Delivery must occur within ten (10)

23            days of entry of this Order for current personnel. For all others, delivery must occur

24            before they assume their responsibilities.


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 1      C. From each individual or entity to which Defendants delivered a copy of this Order,

 2         Defendants must obtain, within thirty (30) days, a signed and dated acknowledgment of

 3         receipt of this Order.

 4                                  X.    COMPLIANCE REPORTING

 5         IT IS FURTHER ORDERED that Defendants make timely submissions to the

 6   Commission:

 7      A. One year after entry of this Order, Defendants must submit a compliance report, sworn

 8         under penalty of perjury. Defendants must: (1) identify the primary physical, postal, and

 9         email address and telephone number, as designated points of contact, which

10         representatives of the Commission and Plaintiff may use to communicate with

11         Defendants; (2) identify all of Defendants’ businesses that collect, maintain, alter, use, or

12         disclose, or provide access to, Alexa App Geolocation Information or Voice Information

13         by all of their names, telephone numbers, and physical, postal, email, and Internet

14         addresses; (3) describe the activities of each such business, including the goods and

15         services offered, the means of advertising, marketing, and sales; (4) describe whether and

16         how Defendants are in compliance with each Section of this Order; and (5) provide a

17         copy of each Order Acknowledgment obtained pursuant to this Order, unless previously

18         submitted to the Commission.

19      B. For ten (10) years after entry of this Order, Defendants must submit a compliance notice,

20         sworn under penalty of perjury, within fourteen (14) days of any change in: (1) any

21         designated point of contact; or (2) the structure of Defendants or any entity that

22         Defendants have any ownership interest in or control directly or indirectly that may affect

23         compliance obligations arising under this Order, including: creation, merger, sale, or

24


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 1          dissolution of the entity or any subsidiary, parent, or affiliate that engages in any acts or

 2          practices subject to this Order.

 3      C. Defendants must submit to the Commission notice of the filing of any bankruptcy

 4          petition, insolvency proceeding, or similar proceeding by or against Defendants within

 5          fourteen (14) days of its filing.

 6      D. Any submission to the Commission required by this Order to be sworn under penalty of

 7          perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by

 8          concluding: “I declare under penalty of perjury under the laws of the United States of

 9          America that the foregoing is true and correct. Executed on: _____” and supplying the

10          date, signatory’s full name, title (if applicable), and signature.

11          Unless otherwise directed by a Commission representative in writing, all submissions to

12   the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or sent by overnight

13   courier (not the U.S. Postal Service) to: Associate Director for Enforcement, Bureau of

14   Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW, Washington,

15   DC 20580. The subject line must begin, “United States v. Amazon.com, Inc., FTC File No.

16   1923128.”

17                                        XI.     RECORDKEEPING

18          IT IS FURTHER ORDERED that Defendants must create certain records for ten (10)

19   years after entry of the Order, and retain each such record for five (5) years. Specifically,

20   Defendants must create and retain the following records:

21      A. Personnel records showing, for each person having managerial responsibility for the

22          deletion of Alexa App Geolocation Information or Voice Information, whether as an

23          employee or otherwise, that person’s: name; job title or position; and dates of service;

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 1      B. Records of all consumer complaints and refund requests related to collection, retention or

 2          deletion of Alexa App Geolocation Information or Voice Information received through

 3          Defendants’ customer service channels, and any response thereto based on a reasonable

 4          search criteria that accounts for the volume of such communications Defendants receive

 5          through its customer service channels;

 6      C. Records of all deletion requests made by individuals or Parents regarding the deletion of

 7          Alexa App Geolocation Information or Voice Information via a mechanism or

 8          mechanisms that any Defendant has made available for that purpose; the response to such

 9          requests; and any actions taken in response to such requests based on reasonable search

10          criteria that account for the volume of such communications or requests Defendants

11          receive through appropriate channels;

12      D. All records necessary to demonstrate material compliance with this Order, including all

13          submissions to the Commission; and

14      E. A copy of each unique advertisement or other marketing material related to collection,

15          retention or deletion of Alexa App Geolocation Information or Voice Information.

16                                XII.   COMPLIANCE MONITORING

17          IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants’ compliance

18   with this Order:

19      A. Within thirty (30) days of receipt of a written request from a representative of the

20          Commission or Plaintiff, Defendants must: submit additional compliance reports or other

21          requested information, which must be sworn under penalty of perjury; and produce

22          documents for inspection and copying.

23      B. For matters concerning this Order, the Commission and Plaintiff are authorized to

24          communicate directly with Defendants. Defendants must permit representatives of the


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 1          Commission and Plaintiff to interview any employee or other person affiliated with

 2          Defendants who has agreed to such an interview. The person interviewed may have

 3          counsel present.

 4      C. The Commission and Plaintiff may use all other lawful means, including posing, through

 5          their representatives, as consumers, suppliers, or other individuals or entities, to

 6          Defendants or any individual or entity affiliated with Defendants, without the necessity of

 7          identification or prior notice. Nothing in this Order limits the Commission’s lawful use

 8          of compulsory process, pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49,

 9          57b-1.

10                               XIII. RETENTION OF JURISDICTION

11          IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for

12   purposes of construction, modification, and enforcement of this Order.

13

14   SO ORDERED this 19th day of July, 2023.

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16
                                                           A
                                                           Tana Lin
                                                           United States District Judge
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 1    SO STIPULATED AND AGREED:

 2   FOR PLAINTIFF THE UNITED STATES               OF COUNSEL:
     OF AMERICA
 3                                                 FOR THE FEDERAL TRADE
                                                   COMMISSION
 4   BRIAN M. BOYNTON                              BENJAMIN WISEMAN
     Principal Deputy Assistant Attorney General   Acting Associate Director
 5   Civil Division                                Division of Privacy & Identity Protection

 6
     ARUN G. RAO                                   ELISA JILLSON
 7   Deputy Assistant Attorney General             ANDREW HASTY
                                                   JULIA HORWITZ
     AMANDA LISKAMM                                Attorneys
 8   Director                                      Division of Privacy & Identity Protection
     Consumer Protection Branch
 9
     LISA K. HSIAO
10   Assistant Director

     By:
11
     s/_Rachael Doud________________
12   RACHAEL L. DOUD
     Assistant Director
13   JAMES T. NELSON
     Senior Trial Attorney
     Consumer Protection Branch
14   U.S. Department of Justice
     P.O. Box 386
15   Washington, D.C. 20044
     (202) 305-4499
16
     s/ Kayla C. Stahman
17   KAYLA C. STAHMAN, CA #228931
     Assistant United States Attorney
18   United States Attorney’s Office
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19   Seattle, Washington 98101-1271
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20   Email: kayla.stahman@udsdoj.gov

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 1   FOR DEFENDANTS AMAZON.COM,
     INC. AND AMAZON.COM SERVICES
 2   LLC:

 3   /s/ Andrew C. DeVore         Dated: 5/24/2023
     Andrew C. DeVore
 4   Title: Authorized Representative for
     Amazon.com, Inc. and Amazon.com
 5   Services LLC

 6
     /s/ Laura Kim                  Dated: 5/24/2023   /s/ Karen Dunn         Dated: 5/24/2023
 7   Laura Kim (pro hac vice forthcoming)              Karen Dunn (pro hac vice forthcoming)
     Nikhil Singhvi (pro hac vice forthcoming)         Jeannie Rhee (pro hac vice forthcoming)
 8   Covington & Burling LLP                           Paul, Weiss, Rifkind,
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 9   Washington, DC 20001-4956                         2001 K Street, N.W.
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                                                       jrhee@paulweiss.com
12
     /s/ Lindsey Tonsager        Dated: 5/24/2023      /s/ Meredith R. Dearborn Dated: 5/24/2023
13   Lindsey Tonsager (pro hac vice forthcoming)       Meredith Dearborn (pro hac vice
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17                                                     mdearborn@paulweiss.com

18   /s/ Jeanne Jeong             Dated: 5/24/2023     /s/ Carter E. Greenbaum Dated: 5/24/2023
     Jeanne Jeong (pro hac vice forthcoming)           Carter E. Greenbaum (pro hac vice
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22                                                     Fax: (212) 757-3990
                                                       cgreenbaum@paulweiss.com
23
                                                       Counsel for Defendants
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 1                                                Exhibit A

 2                                    Alexa and Alexa Devices FAQs
     In May 2023, the United States and Amazon settled United States v. Amazon, Case No. XXXX
 3
     (W.D. Wash.), a civil lawsuit relating to data collected by Amazon’s Alexa service. As part of
 4   the settlement, Amazon is changing its policies regarding the retention of children’s personal
     information. The services and devices affected include the Echo Dot Kids Edition and Amazon
 5   Kids on Alexa.
     Specifically, by [November __] 2023, Amazon will make the following changes:
 6
        1. Amazon will design and implement a process to identify Alexa profiles created for
 7         children under 13 (child profiles) that have been inactive—meaning they have not been
           accessed or used by anyone—for a period of 18 months or more.
 8
        2. After Amazon identifies an inactive child profile, Amazon will notify the parent or
 9         guardian that Amazon plans to delete the personal information collected from the user of
           that profile.
10
                1. If the parent or guardian wants Amazon to retain that personal information, they
11
                   will have 30 days to tell Amazon in order to prevent its deletion.
12
                2. In addition, if the child begins using their profile again before Amazon performs
13                 the deletion, Amazon may continue to retain the personal information associated
                   with that profile as permitted by the retention settings set by the child’s parent or
14                 guardian.

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